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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSSETTS

  PRESIDENT AND FELLOWS OF
  HARVARD COLLEGE

                Plaintiffs,
                                                   Case No. 1:25-cv-11048
        v.

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et al.

                Defendants.




        NOTICE OF SUPPLEMENTATION OF ADMINISTRATIVE RECORD

       The undersigned counsel hereby certifies that two additional documents belonging to the

Department of Health and Human Services were newly identified as part of the administrative

record and served directly upon Plaintiff’s counsel via box.com, a cloud-based content

management and file-sharing platform, on May 30, 2025.



Dated: May 30, 2025                               Respectfully submitted,

                                                  CHAD MIZELLE
                                                  Acting Associate Attorney General

                                                  ABHISHEK KAMBLI
                                                  Deputy Associate Attorney General

                                                  YAAKOV M. ROTH
                                                  Acting Assistant Attorney General
                                                  Civil Division

                                                  JOSEPH BORSON
                                                  Assistant Director, Federal Programs Branch

                                                  /s/ Eitan R. Sirkovich
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                                   EITAN R. SIRKOVICH (D.C. Bar No.
                                   90030102)
                                   RYAN M. UNDERWOOD
                                   Trial Attorneys
                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L Street, NW
                                   Washington, DC 20005
                                   Tel: (202) 353-5525
                                   E-mail: eitan.r.sirkovich@usdoj.gov

                                   Counsel for Defendants




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